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 8                                  UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    JUAN CARLOS GARCIA AYALA,                    No. 2:21-cv-02186-DJC-CKD
12                     Plaintiff,
13           v.                                    ORDER
14    GARY REDMAN, et al.,
15                     Defendants.
16

17          Plaintiff, a former county inmate proceeding pro se, filed this civil rights action

18   seeking relief under 42 U.S.C. § 1983. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On January 31, 2024, the Magistrate Judge filed findings and

21   recommendations herein which were served on all parties and which contained notice

22   to all parties that any objections to the findings and recommendations were to be filed

23   within fourteen days. Neither party filed objections to the findings and

24   recommendations.

25          The Court has reviewed the file and finds the findings and recommendations to

26   be supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS

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     Case 2:21-cv-02186-DJC-CKD Document 74 Filed 06/07/24 Page 2 of 2


 1   HEREBY ORDERED that:

 2           1. The findings and recommendations (ECF No. 70) are adopted in full.

 3           2. Plaintiff’s Fourteenth Amendment deliberate indifference claims against

 4   defendants Creach, LaBarbera, Owens, and Does 1-10 are dismissed without leave to

 5   amend for failing to state a claim upon which relief may be granted; and

 6           3. This matter is referred back to the Magistrate Judge for all further pretrial

 7   proceedings.

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             IT IS SO ORDERED.
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10   Dated:       June 7, 2024
                                                    Hon. Daniel J. Calabretta
11                                                  UNITED STATES DISTRICT JUDGE
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